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                            EXHIBIT "C"
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                                                               MORTGAGE                                140194175




           DRPSTIONS

           Words used in multiple sections of this dacument are dgfined beke and other word$ are defined in Sections
           3, 11, )3, 18, 20 and 21. Certain rules regarding the; usage Of words used in this document are also provided
           in Section 16.

           (A) I,Security lustrurneut" means this document,               which is dated         anutiry i4t, 2005
           together with all Riders to this document,
           Ofir`eorrower" is          JOSEPH M HANRATTY AS TRUSTEE, OF THE LAND TRUST AGREEMENT
                                      NO 072003 WED 2/9/04     "




           Borrower ie the mortgagor under this Security hutrument,
           (C) Iender" it;       11m:wan. iet)20A/4 BANK & TRUST

           Lender 121e IrEttgAL sAVIIIGE
           organized and existing under the l4w3 of                Me UNITzD MIMS or All:KRIVA




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        Lender's address is 205 DATURA. STREET, WEST PALM BEACH,                    FL 33401


        Lender is the mortgagee under this Security Instrument,
        (D) "Note" means the promissory note signed by Borrower and dated            4.7anuary 14th, 2005              ,
        The Note states that Borrower owes Lender rive Hundred Thirty Thegsand and                          o/100,n
                                                                                                                Dollars
                      530,000.00            ) plus interest. Borrower has promised to pay this debt in regular Periodic
        Payments and to pay the debt in full not later than      February 1st 2036               .
        (E) "Property" means the property that Is described below under the heading "Transfer of Rights in the
        Property."
        (15) "Loan" means the debt evidenced by the Note, plus interest, any prepayment charges and late charges
        due under the Note, and all sums due under this Security Instrument, plus Interest,
        (G) "Riders" means all Riders to this Security Instrument that are executed by Borrower. The following
        Riders are to be executed by Borrower [check box as applicable]:

         El Adjustable Rate Rider E Condominium Rider              Li Second Home Rider
         El Balloon Rider         3 Planned Unit Development Rider E 1-4 Family Rider
         El VA Rider              Ei Biweekly Payment Rider        E Other(s) (specify]


        (H) "Applicable Law" means all controlling applicable federal, state and local statutes, regulations,
        ordinances and administrative rules and orders (that have the effect of law) as well as all applicable final,
        non-appealable judicial opinions.
        (1) "Community Association Dues, Fees, and Assessments" means all dues, fees, assessments and other
        charges that arc imposed on Borrower or the Property by a condominium association, homeowners
        association ox similar organization,
        (J) "Electronic Funds Transfer" means any transfer of funds, other than a transaction originated by check,
        draft, or similar paper instrument, which is initiated through an electronic terminal, telephonic instrument,
        computer, or magnetic tape so as to order, instruct, or authorize a financial institution to debit or credit an
        account. Such term includes, but is not limited to, point-of-sale transfers, automated teller machine
        transactions, transfers initiated by telephone, wire transfers, and automated clearinghouse transfers.
        (K) "Escrow Items" means those items that are described in Section 3,
        (L) "Miscellaneous Proceeds" means any compensation, settlement, award of damages, or proceeds paid
        by any third party (other than insurance proceeds paid under the coverages described in Section 5) for: (i)
        damage to, or destruction of, the Property; (ii) condemnation or other taking of all or any part of the
        Property; (Ili) conveyance In lieu of condemnation; or (iv) misrepresentations of, or omissions as to, the
        value and/or condition of the Property.
        (M) "Mortgage Insurance" means insurance protecting Lender against the nonpayment of, or default on,
        the Loan.
        (N) "Periodic Payment" means the regularly scheduled amount due for (i) principal and interest under the
        Note, plus (ii) any amounts under Section 3 of this Security Instrument.



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        (0) "RESPA" means the Real Estate Settlement Procedures Act (12 U,S.C. Section 2601 et seq.) and its
        implementing regulation, Regulation X (24 C.F.R. Part 3500), as they might be amended from time to time,
        or any additional or successor legislation or regulation that governs the same subject matter, As used in this
        Seaurity instrument, "RESPA" refers to all requirements and restrictions that are imposed in regard to a
        "federally related mortgage loan" even if the Loan does not qualify as a "federally related mortgage loan"
        under RESPA,
        (P) "Successor in etterest of Borrower" means any party that has taken title to the Property, whether or
        not that party has assumed Borrower's obligations under the Note andJor this Security Instrument.

        TRANSFER OP RIGHTS IN THE PROPERTY

        This Security Instrument secures to Lender (i) the repayment of the Loan) and all renewals, extensions and
        modifications of the Note; and (II) the performance of Borrower's covenants and agreements under this
        Security Instrument and the Note. For this purpose, Borrower does hereby mortgage, grant and convey to
        Lender, the following described property located in the       COUNTY             [Typo of Rocording Jurisdiction]
        of                  Palm each                                                  [Ngrric of Recording Jurisdiction]:
        LOT 122 DEER RUN ACCORDING TO THE PLAT THEREOF AS RECORDED IN THE OFFICE
        OF THE CLERK OF THE CIRCUIT COURT IN AND FOR PALM BEACH COUNTY FLORIDA
        IN PLAT BOOK 35 PACES 34 THROUGH 39 INCLUSIVE




        Parcel ID Number: 00.404321010001221                                              which currently has the address of
                                     2251 BUCK RIDGE TRAIL                                                             5freal
                              LOXAHATCHEE                                     [City] ,   Plorida     33470         [Zip Code]
        ("Property Address"):

             TQGETHER WITH all the improvements now or hereafter erected on the property, and all easerpents,
        appurtenances, and fixtures now or hereafter a part of the property. All replacements and additions shall also
        be covered by this Security Instrument. All of the foregoing is referred to in this Security Instrument as the
        "Property."




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              BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has
        the right to mortgage, grant and convey the Property and that the Property is unencumbered, except for
        encumbrances of record. Borrower warrants and will deferid generally the title to the Property against all
        claims and demands, subject to any encumbrance of record,
              THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform
        covenants with limited variations by jurisdiction to constitute a uniform security instrument covering real
        property.
              UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:
              L. Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late Charges.
        Borrower shall pay when due the principal of, and interest on, the debt evidenced by the Note and any
        prepayment charges and late charges due under the Note, Borrower shall also pay funds for Escrow Items
        pursuant to Seotion 3. Payments due under the Note and this Security Instrument shall be made in 1,,n5,
        currency. However, if any check or other instrument received by Lender as payment under the Note or this
        Security Instrument is returned to Lender unpaid, Lender may require that any or all subsequent payments
        due under the Note and this Security Instrument be made in one or more of the foliowing ems, as selected
        by Lender: (a) cash; (b) money order; (c) certified check, bank check, treasurer's check or cashier's check,
        provided any such check is drawn upon an institution whose deposits are insured by a federal agency,
        instrumentality, or entity; or (d)Electronic Funds Transfer,
              Payments are deemed received by Lender when received at the location designated in the Note or at
        such other location as may be designated by Lender in accordance with the notice provisions in Section 15.
        Lender may return any payment or partial payment if the payment or partial payments are insufficient to
        bring the Loan current, Lender may accept any payment or partial payment insufficient to bring the Loan
        current, without waiver of any rights hereunder or prejudice to its rights to refuse such payment or partial
        payments in the future, but Lender is not obligated to apply such payments at the time such payments are
        accepted. If each Periodic Payment is applied as of its scheduled due date, then Lender need not pay interest
        on unapplied funds. Lender may hold such unapplied funds until Borrower makes payment to bring the Loan
        current, If Borrower does not do so within a reasonable period of time, Lender shall either apply such funds
        or return them to Borrower_ If not applied earlier, such funds will be applied to the outstanding principal
        balance under the Note immediately prior to foreclosure. No offset or claim which Borrower might have
        now or in the future against Lender shall relieve Borrower from making payments due under the Note and
        this Security Instrument or performing the covenants and agreements secured by this Security Instrument.
              2. Application of Payments or Proceeds. Except as otherwise described in this Section 2, all
        payments accepted and applied by Lender shall be applied in the following order of priority: (a) interest due
        under the Note; (b) principal due under the Note; (c) amounts due under Section 3. Such payments shall be
        applied to each Periodic Payment in the order in which it became due. Any remaining amounts shall be
        applied first to late charges, second to any other amounts due under this Security Instrument, and then to
        reduce the principal balance of the Note.
              If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a
        sufficient amount to pay any late charge due, the payment may be applied to the delinquent payment and the
        late charge. If more than one Periodic Payment is outstanding, Lender may apply any payment received from
         Borrower to the repayment of the Periodic Payments if, and to the extent that, each payment can be paid in




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         hill, To the extent that any excess exists after the payment is applied to the full payment of one or more
         Periodie Payments, such excess may be applied to any late charges due. Voluntary prepayments shall be
         applied first to any prepayment charges and then as described in the Note.
               Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under the
         Note shall not extend or postpone the due date, or change the amount, of the Periodic Payments.
               3.. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due under
         the Note, until the Note is paid in full, a sum (the "Funds") to provide for payment of amounts due for: (a)
         taxes and assessments and other items which can attain priority over this Security Instrument as a lien or
         encumbrance on the Property; (b) leasehold payments or ground rents on the Property, if any; (c) premiums
         for any and all insurance required by Lender under Section 5; and (d) Mortgage Insurance premiums, if any,
         or any sums payable by Borrower to Lender in lieu of the payment of Mortgage Insurance premiums in
         accordance with the provisions of Section 10. These items are called "Escrovs Items." At origination or at
         any time during the term of the Loan, Lender may require that Community Association Dues, Fees, and
         Assessments, if any, be escrowed by Borrower, and such dues, fees and assessments shall be an Escrow
         Item, Borrower shall promptly furnish to Lender all notices of amounts to be paid under this Section.
         Borrower shall pay Lender the Funds for Escrow Items unless Lender waives Borrower's obligation to pay
         the Funds for any or all Escrow Items. Lender may waive Borrovver's obligation to pay to Lender Funds for
         any or all Escrow Items at any time, Any such waiver may only be in writing. In the event of such waiver,
         Borrower shall pay directly, when and where payable, the amounts due for any Escrow Items for which
         payment of Funds has been waived by Lender and, if Lender requires, shall furnish to Lender receipts
         evidencing such payment within such time period as Lender may require. Borrower's obligation to make
         such payments and to provide receipts shall for all purposes be deemed to be a covenant and agreement
         contained in this Security Instrument, as the phrase "covenant and agreement" is used in Section 9. If
         Borrower is obligated to pay Escrow Items directly, pursuant to a waiver, and Borrower fails to pay the
         amount due for an Escrow Item, Lender may exercise its rights tinder Section 9 and pay such amount and
         Borrower shall then be obligated under Section 9 to repay to Lender any such amount. Lender may revoke
         the waiver as to any or all Escrow Items at any time by a notice given in accordance with Section 15 and,
         upon such revocation, Borrower shall pay to Lender all Funds, and in such amounts, that are then required
         under this Section 3.
               Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply
         the Funds at the time specified under RESPA, and (b) not to exceed the maximum amount a lender can
         require under RESPA. Lender shall estimate the amount of Funds due on the basis of current data and
         reasonable estimates of expenditures of future Escrow Items or otherwise in accordance with Applicable
         Law.
               The Funds shall be held in an institution whose deposits are insured by a federal agency,
         instrumentality, or entity (including Lender, if Lender is an institution whose deposits are so insured) or in
         any Federal Home Loan Bank. Lender shall apply the Funds to pay the Escrow Items no later than the time
         specified under RESPA. Lender shall not charge Borrower for holding and applying the Funds, annually
         analyzing the escrow account, or verifying the Escrow Items, unless Lender pays Borrower interest on the
         Funds and Applicable Law permits Lender to make such a charge. Unless an agreement is made in writing or
         Applicable Law requires interest to be paid on the Funds, Lender shall not be required to pay Borrower any
         interest or earnings on the Funds. Borrower and Lender van agree in writing, however, that interest shall be
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        paid on the Funds. Lender shall give to Borrower, without charge, an annual accounting of the Funds as
        required by RESPA.
               If there is a surplus of Funds heid in escrow, as defined under RESPA, Lender shall account to
        Borrower for the excess funds in accordance with RESPA. If there is a shot/age of Funds held in escrow, as
        defined under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay to
        Lender the amount necessary to make up the shortage in accordance with RESPA, but in no mote than 12
        monthly payments. If there is a deficiency of Funds held in escrow, as defined under RESPA, Lender shall
        notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make up
        the deficiency in accordance with RESPA, but in no more than 12 monthly payments.
              Upon payment in full of all sums secured by this Security Instrument, Lender shall promptly refund to
        Borrower any Funds held by Lender,
              4. Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and impositions
        attributable to the Property which can attain priority over this Security Instrument, leasehold payments or
        ground rents on the Property, if any, and Community Association Dues, Fees, and Assessments, if any. To
        the extent that these items are Escrow Items, Borrower shall pay them In the manner provided in Section 3.
              Borrower shall promptly discharge any lien which has priority over this Security Instrument unless
        Borrower: (a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable
        to Lender, but only so long as Borrower is performing such agreement; (b) contests the lien in good faith by,
        or defends against enforcement of the lien in, legal proceedings which in Lender's opinion operate to prevent
        the enforcement of the lien while those proceedings are pending, but only until such proceedings are
        concluded; or (c) secures from the holder of the lien an agreement satisfactory to Lender subordinating the
        lien to this Security Instrument, If Lender determines that any part of the Property is subject to a lien which
        can attain priority over this Secmity Instrument, Lender may give Borrower a notice identifying the lien.
        Within 10 days of the date on which that notice is given, Borrower shall satisfy the lien or take one or more
        of the actions set forth above in this Section 4.
              Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or reporting
        service used by Lender in connection with this Loan.
              5. Property Insurance, Borrower shall keep the improvements now existing or hereafter erected on the
        Property insured against loss by fire, hazards included within the term "extended coverage," and any other
        hazards including, but not limited to, earthquakes and floods, for which Lender requires insurance. This
        insurance shall be maintained in the amounts (including deductible levels) and for the periods that Lender
        requires. What Lender requires pursuant to the preceding sentences can change during the term of the Loan.
        The insurance carrier providing the insurance shall be chosen by Borrower subject to Lender's right to
        disapprove Borrower's choice, which right shall not be exercised unreasonably. Lender may require
        Borrower to pay, in connection with this Loan, either: (a) a one-time charge for flood zone determination,
        certification and tracking services; or (b) a one-time charge for flood zone determination and certification
        services and subsequent charges each time remappings or similar changes occur which reasonably might
        affect such determination or certification, Borrower shall also be responsible for the payment of any fees
        imposed by the Federal Emergency Management Agency in connection with the review of any flood zone
        determination resulting from an objection by Borrower,




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               If Borrower fails to maintain any of the coverages described above,' Lender may obtain insurance
        coverage, at Lendef s option and Borrower's expense. tender s under no obligation to purchase any
        particular type or amount of coverage. Therefore, such coverage shah l cover Lender, but might or met not
        protect Borrower, Borrower's equity in the Property, or the contents of the Properry, against any risk, hagard
        or liability and might provide greater or lesser eoverage than was previously in effecr. Bon-ower
        acknowledges that the cost of the insurance coverage so obtained might significantly exceed the con of
        insurance that Borrower could have obtained. Any amounts disbursed by Leader under titis Section 5 shahl
        hume additlonal debt of Dorrower secured by this Security Instrument. The,se amounts shah l bear interest
        at the Note rate from the date of disbursernent and shall be payable, with suai interest, upon notice from
        Lender to Borrower requesting payment,
               All insurance policies required by Lender and renewals of such policies shah l be subject to Lender's
        right to disapprove such policies, shall inchide a standard tnoregage clause, and shall name Leader as
        mortgagee and/or a an additional loss payee. Lender shah l have the right to hold the policies and renewat
        certificates. If Lender requires, Borrower shall promptly give to Lender all receipts of paid premiums and
        renewal notices. If Borrower obtains any form of insurance coverage, not otherwise required by Lender, for
        damage to, or destruction of, the Property, such policy shah l include a standard mortgage clause and shall
        mime Lender as mortgagee and/or as an additional loss payee.
               In the event of loss, Borrower shall give prompt notice to the insinue carder and Leader. Lender may
        make proof of loss if not made promptly by Borrower, Unless Lender and Borrower otherwise agree in
        vvriting, any insurance proceeds, whether or not the underlying insurance was required by Leader, shah l be
        applied to restoration or repair of the Property, if the restoration or repair is economically feasible and
        Lender's security is not lessened. During such repair and restoration period, Lender shah l have the right to
        hold such insurance proceeds until tender bas bad an opportunity to inspect such Property to ensure the
        work has been completed to Lender's satisfaction, provided that such inspection shall be undertaken
        promptly. Lender may disburse proceeds for the repaire and restoration in a single payment or in a eries of
        progress payments as the work is completed. Unless an agreement is made in writing ar Applicable Law
        requires interest to be paicl on such insurance proceeds, Lender site net be required to pay Dorrower any
        interest or eamings on such proceeds. Fees for public adjusters, or other third parties, retained by Borrower
        shah l not be paid out of the insurance proceeds and shah l be the sole obligation of Borrower. If the restoration
        or repair is not economically feasible or Lender's security would be lessened, the insurance proceeds shall be
        applied to the sums secured by this Security Instrument, whether or not then due, with the eacess, if any,
        paid to Borrower. Such insurance proceeds shall be applied in the order provided for in Section 2.
               If Borrower abandons the Property, Lender may file, negotiate and sente any available insurance claim
        and related matters. If Boumer does not respond within 30 days to a notice front tender that the insurance
        carrier has offered to sertie a daim, then Lender may negotiate and sertie the daim. The 30-day period will
        begin when the notice is given. In either évent, or if Lender acquires the Property under Section 22 or
        otherwise, Borrower hereby assigns to Lender (a) Bon-ower's rights to any insurance proceeds in an amourtt
        not to exceed the amounts unpaid under the Note or this Security Instrument, and (b) any other of Borrower's
        rights (other than the right to any refund of unearned premiums paid by Boumer) under all insurance
        polloies covering the Property, insofar as such rights are applicable ro the coverage of the Property. Lender
        may use the insurance proceeds either to repair or restere the Property or to pay amounts unpaid under the
        Note or this Security Instrument, whether or not then due,



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               6. Occupancy. Borrower shall occupy, establish, and use the Property as Borrower's principal
         residence within 60 days after the execution of this Seaway Instrument and shall continue to occupy the
         Property as Borrower's principal residence for at least one year after the date of occupancy, unless Lender
         otherwise agrees in writing, which consent shall not be unreasonably withheld, or unless extenuating
         circumstances exist which are beyond Borrower's control.
               7. Preservation, Maintenance and Protection of the Property; Inspections, Borrower shall not
         destroy, damage or impair the Property, allow the Property to deteriorate or commit waste on the Property.
         Whether or not Borrower is residing in the Property, Borrower shall maintain the Property in order to
         prevent the Property from deteriorating or decreasing in value due to its condition, Unless it is determined
         pursuant to Section that repair or restoration is not economically feasible, Borrower shall promptly repair
         the Property if damaged to avoid further deterioration or damage. If insurance or condemnation proceeds are
         paid in connection with damage to, or the taking of, the Property, Borrower shall be responsible for repairing
         or restoring the Property only if Lender has released proceeds for such purposes. Lender may disburse
         proceeds for the repairs and restoration in a single payment or in a series of progress payments as the work is
         completed. If the insurance or condemnation proceeds are not sufficient to repair Or restore the Property,
         Borrower is not relieved of Borrower's obligation for the completion of such repair or restoration,
               Lender or its agent may make reasonable entries upon and inspections of the Property. If it has
         reasonable cause, Lender may inspect the interior of the improvements on the Property. Lender shall give
         Borrower notice at the time of or prior to such an interior inspection specifying such reasonable cause,
               S. Borrower's Loan Application. Borrower shall be in default if; during the Loan application proms,
         Borrower or any persons or entities acting at the direction of Borrower or with Borrower's knowledge or
         Consent gave materially false, misleading, or inaecurate information or statements to Lender (or failed to
         provide Lender with material information) in connection with the Loan. Material representations include, but
         are not limited to, representations concerning Borrower's occupancy of the Property as Borrower's principal
         residence.
               9. Protection of Lender's Interest in the Property and Rights Under this Security Instrument. If
         (a) Borrower fails to perform the covenants and agreements contained in this Security Instrument, (h) there
         is a legal proceeding that might significantly affect Lender's interest in the Property and/or rights under this
         Security Instrument (such as a proceeding in banicruptcy, probate, for condemnation or forfeiture, for
         enforcement of a lien which may attain priority over this Security Instrument or to enforce laws or
         regulations), or (c) Borrower has abandoned the Property, then Lender may do and pay for whatever is
         reasonable or appropriate to protect Lender's interest in the Property and rights under this Security
         Instrument, including protecting and/or assessing the value of the Property, and securing and/or repairing the
         Property. Lender's actions Can include, but are not limited to: (a) paying any sums secured by a lien which
         has priority over this Security Instrument; (b) appearing in court; and (0) paying reasonable attorneys fees to
         protect its interest in the property and/or rights under this Security Instrument, including its secured position
         in a bankruptcy proceeding. Securing the Property includes, but is not limited to, entering the Property to
         make repairs, change locks, replace or board up doors and windows, drain water from pipes, eliminate
         building or other code violations or dangerous conditions, and have utilities turned on or off. Although
         Lender may take action under this Section 9, Lender does not have to do so and is not under any duty or
         obligation to do so. It is agreed that Lender incurs no liability for not taking any or all actions authorized
         under this Section 9.



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              Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower
        secured by this Security Instrorrient, These amounts shall bear interest at the Note rate from the date of
        disbursement and shall be payable, with such interest, upon notice from Lender to Borrower requesting
        payment,
               If this Security Instrument Is on a leasehold, Borrower shall comply with all the provisions of the lease.
        If Borrower acquires fee title to the Property, the leasehold and the fee title shall not merge unless Lender
        agrees to the merger in writing.
               10. Mortgage Insurance, If Lender required Mortgage Insurance as a condition of making the Loan,
        Berrower shall pay the premiums required to maintain the Mortgage Insurance in effect. If, for any reason,
        the Mortgage Insurance coverage required by Lender ceases to be available from the mortgage insurer that
        previously provided such insurance and Borrower was required to make separately designated payments
        toward the premiums for Mortgage Insurance, Borrower shall pay the premiums required to obtain coverage
        sobstarally equivalent to the Mortgage Insurance previously in effect, at a cost substantially equivalent to
        the cost to Borrower of the Mortgage Insurance previously in effect, from an alternate mortgage insurer
        selected by Lender, If substantially equivalent Mortgage Insurance coverage is not available, Borrower shall
        continue to pay to Lender the amount of the separately designated payments that were due when the
        insurance coverage ceased to be in effect. Lender will accept, use and retain these payments as a
        nonrefundable loss reserve in lieu of Mortgage Insurance, Such loss reserve shall be non-refundable,
        notwithstanding the fact that the Lean is ultimately paid in full, and Lender shall not be required to pay
        Borrower any interest or earnings on such loss reserve. Lender can no longer require loss reserve payments if
        Mortgage Insurance coverage (in the amount and for the period that Lender requires) provided by an insurer
        selected by Lender again becomes available, is obtained, and Lender requires separately designated
        payments toward the premiums for Mortgage Insurance, If Lender required Mortgage Insurance as a
        condition of making the Loan and Borrower was required to make separately designated payments toward
        the premiums for Mortgage Insurance, Borrower shall pay the premiums required to maintain Mortgage
        Insurance in effect, or to provide a non-refundable loss reserve, until Lender's requirement for Mortgage
        Insurance ends in accordance with any written agreement between Borrower and Lender providing for such
        termination Or tlotil termination is required by Applicable Law_ Nothing in this Section 10 affects Borrower's
        obligation to pay interest at the rate provided in the Note.
              Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it may
        incur if Borrower does not repay the Loan as agreed. Borrower is not a party to the Mortgage Insurance.
              Mortgage insurers evaluate their total risk on all such insurance in force from time to time, and may
        enter into agreements with other parties that share or modify their risk, or reduce losses. These agreements
        are on terms and conditions that are satisfactory to the mortgage insurer and the other party (or parties) to
        these agreements. These agreements may require the mortgage insurer to make payments using any source
        of funds that the mortgage insurer may have available (which relay include funds obtained from mortgage
        Insurance premiums).
              As a result of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurer, any
        other entity, or any affiliate of any of the foregoing, may receive (directly or indirectly) amounts that derive
        from (or might be characterized as) a portion of Borrower's payments for Mortgage Insurance, in exchange
        for sharing or modifying the mortgage Insures risk, or reducing losses. If such agreement provides that an
        affiliate of Lender takes a share of the insurer's risk in exchange for a share of the premiums paid to the
        insurer, the arrangement is often termed 'captive reinsurance." Further:
              (a) Any such agreements will not affect the amounts that Borrower has agreed to pay for
        Mortgage Insurance, or any other terms of the Loan, Such agreements will not increase the amount
        Borrower will owe for Mortgage Insurance, and they will not entitle Borrower to any refund.




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              (b) Any such agreements will not affect the rights Borrower has - if any - with respect to the
        Mortgage Insurance under the Homeowners Protection Act of 1998 or any other law. These rights
        may include the right to receive certain disclosures, to request and obtain cancellation of the Mortgage
        Insurance, to have the Mortgage Insurance terminated automatically, and/or to receive a refund of
        any Mortgage Insurance premiums that were unearned at the time of such cancellation or
        termination,
              11, Assignment of Miscellaneous Proceeds; Forfeiture, All Miscellaneous Proceeds are hereby
        assigned to and shall be paid to Lender.
              If the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of the
        Property, if the restoration or repair is economically feasible and Lender's security is not lessened. During
        such repair and restoration period, Lender shall have the right to hold such Miscellaneous Proceeds until
        Lender has had an opportunity to inspect such Property to ensure the work has been completed to Lender's
        satisfaction, provided that such inspection shall be undertaken promptly. Lender may pay for the repairs and
        restoration in a single disbursement or in a series of progress payments as the work is completed, Unless an
        agreement is made in writing or Applicable Law requires interest to be paid on such Miscellaneous
        Proceeds, Lender shall not be required to pay Borrower any interest or earnings on such Miscellaneous
        Proceeds, If the restoration or repair is not ecoaornically feasible or Lender's security would be lessened, the
        Miscellaneous Proceeds shall be applied to the sums secured by this Security Instrument, whether or not
        then due, with the excess, if any, paid to Borrower. Such Miscellaneous Proceeds shall be applied in the
        order provided for in Section 2.
              In the event of a total taking, destruction, or loss in value of the Property, the Miscellaneous Proceeds
        shall be applied to the sums secured by this Security Instrument, whether or not then due, with the excess, if
        any, paid to Borrower.
              In the event of a partial taking, destruction, or loss in value of the Property in which the fair market
        value of the Property immediately before the partial taking, destruction, or loss in value is equal to or greater
        than the amount of the sums secured by this Security Instrument immediately before the partial taking,
        destruction, or loss in value, unless Borrower and Lender otherwise agree in writing, the sums secured by
        this Security instrument shall be reduced by the amount of the Miscellaneous Proceeds multiplied by the
        following fraction: (a) the total amount of the sums secured immediately before the partial taking,
        destruction, or loss in value divided by (b) the fair market value of the Property immediately before the
        partial taking, destruction, or loss in value. Any balance shall be paid to Borrower,
              In the event of a partial taking, destruction, or loss in value of the Property in which the fair market
        value of the Property immediately before the partial taking, destruction, or loss in value is less than the
        amount of the sums secured immediately before the partial taking, destruction, or Joss in value, unless
        Borrower and Lender otherwise agree in writing, the Miscellaneous Proceeds shall be applied to the sums
        secured by this Security Instrument whether or not the sums are then due.
              If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the Opposing
        Party (as defined in the next sentence) offers to make an award to settle a claim for damages, Borrower fails
        to respond to Lender within 30 days after the date the notice Is given, Lender is authorized to collect and
        apply the Miscellaneous Proceeds either to restoration or repair of the Property or to the sums secured by
        this Security Instrument, whether or not then due. "Opposing Party" means the third party that owes
        Borrower Miscellaneous Proceeds or the party against whom Borrower has a right et' action in regard to
        Miscellaneous Proceeds,
              Borrower shall be in default if any action or proceeding, whether civil or criminal, is begun that, in
        Lender's judgment, could result in forfeiture of the Property or other material impairment of Lender's interest
        in the Property or rights under this Security Instrument. Borrower can cure such a default and, if acceleration
        has occurred, reinstate as provided in Section 19, by causing the action or proceed,ing to be dismissed with a
        ruling that, in Lender's judgment, precludes forfeiture of the Property or ojleer material impairment of
        Lender's interest in the Property or rights under this Security Instrument, Thkpioceeds of any award or claim

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         for damages that are attributable to the impairment of Lender's interest in the Property are hereby assigned
         and shall be paid to Leader.
               All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be applied
         in the order provided for in Section 2,
               12. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for
         payment or modification of amortization of the sums secured by this Security Instrument granted by Lender
         to Borrower or any Successor in Interest of Borrower shall not operate to release the liability of B orrower or
         any Successors in Interest of Borrower. Lender shall not be required to commence proceedings against any
         Successor in Interest of Borrower or to refuse to extend time for payment or otherwise modify amortization
         of the sums secured by this Security Instrument by reason of any demand made by the original Borrower or
         any Successors in Interest of Borrower. Any forbearance by Lender in exercising any right or remedy
         Including, without limitation, Lender's acceptance of payments from third persons, entities or Successors in
         Interest of Borrower or in amounts less than the amount then due, shall not be a waiver of or preclude the
         exercise of any right or remedy,
               13. Joint and Several Liability; Co-signers; Successors and Assigns Bound, Borrower covenants
         and agrees that Borrower's obligations and liability shall be joint and several, However, any Borrower who
         co-signs this Security Instrument but does not execute the Note (a "co-signer"): (a) is co-signing this
         Security instrument only to mortgage, grant and convey the ccesigner's interest in the Property under the
         terms of this Security Instrument; (b) is not personally obligated to pay the sums secured by this Security
         Instrument and (c) agrees that Lender and any other Borrower can agree to extend, modify, forbear or make
         any accommodations with regard to the terms of this Security Instrument or the Note without the co-signer's
         consent.
               Subject to the provisions of Section 18, any Successor in Interest of Borrower who assumes Borrower's
         obligations under this Security Instniment in writing, and is approved by Lender, shall obtain all of
         Borrower's rights and benefits under this Security Instrument. Borrower shall not be released from
         Borrower's obligations and liability under this Security Instrument unless Lender agrees to such release in
         writing. The covenants and agreements of this Security Instrument shall bind (except as provided in Section
         20) and benefit the successors and assigns of fender.
               14, Loan Charges. Lender may charge Borrower fees for services performed in connection with
         Borrower's default, for the purpose of protecting Lender's interest in the Property and rights under this
         Security Instrument, including, but not limited to, attorneys' fees, property inspection and valuation fees, in
         regard to any other fees, the absence of express authority in this Security Instrument to charge a spectfic fee
         to Borrower shall not be construed as a prohibition on the charging of such fee. Lender may not charge fees
         that are expressly prohibited by this Security Instrument or by Applicable Law.
               If the Loan is subject to a law which sets maximum loan charges, and that law is finally interpreted so
         that the interest or other loan charges collected or to be collected in connection with the Loan exceed the
         permitted limits, then; (a) any such loan charge shall be reduced by the amount necessary to reduce the
         charge to the permitted limit; and (b) any sums already collected frein Borrower which exceeded permitted
         limits will be refunded to Borrower. Lender may choose to make this refund by reducing the principal owed
         under the Note or by making a direct payment to Borrower, If a refund reduces principal, the reduction will
         be treated as a partial prepayment without any prepayment charge (whether or not a prepayment charge is
         provided for under the Note), Borrower's acceptance of any such refund made by direct payment to
         Borrower will constitute a waiver of any right of action Borrower might have arising out of such overcharge.
               15. Notices. All notices given by Borrower or Lender in connection with this Security Instrument must
         be in writing. Any notice to Berrower in connection with this Security Instrument shall be deemed to have
         been given to Borrower when mailed by first class mail or when actually delivered to Borrower's notice
         address if sent by other means. Notice to any one Borrower shall constitute notiee ne all Borrowers unless


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         Applicable Law expressly requires otherwise, The notice address shall be the Property Address unless
         Bon-ower has designated a substitute notice address by notice to Lender, Borrower shall promptly notify
         Lender of Borrower's change of address. If Lender specifies a procedure for reporting Borrower's change of
         address, then Borrower shall only report a change of address through that specified procedure. There may be
         only one designated notice address under this Security Instrument at any one time. Any notice to Lender
         shall be given by delivering it or by mailing it by first class mail to Lender's address stated herein unless
         Lender has designated another address by notice to Borrower. Any notice in connection with this Security
         Instrument shall not be deemed to have been given to Lender until actually received by Lender. If any notice
         required by this Security Instrument is also required under Applicable Law, the Applicable Law requirement
         will satisfy the corresponding requirement under this Security Instrument,
               16. Governing Law; Severability; Rules of Construction. This Security Instrument shall be governed
         by federal law and the law of the jurisdiction in which the Property is located. All rights and obligations
         contained in this Security Instrument are subject to any requirements and limitations of Applicable Law.
         Applicable Law might explicitly or implicitly allow the parties to agree by contract or it might be silent, but
         such silence shall not be construed as a prohibition against agreement by contract. In the event that any
         provision or clause of this Security Instrument or the Note conflicts with Applicable Law, such conflict shall
         not affect other provisions Of this Security Instrument or the Note which can be given effect without the
         conflicting provision.
               As used in this Security Instrument: (a) words of the masculine gender shall mean and include
         corresponding neuter words or words of the feminine gender; (b) words in the singular shall mean and
         Include the plural and vice versa; and (c) the word "may" gives sole discretion without any obligation to take
         any action,
               17. Borrower's Copy. Borrower shall be given one copy of the Note and of this Security Instrument,
               18. Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 18,
         "Interest in the Property" means any legal or beneficial interest in the Property, including, but not limited to,
         those beneficial interests transferred in a bond for deed, contract for deed, installment sales contract or
         escrow agreement, the intent of which is the transfer of title by Borrower at a future date to a purchaser.
               If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is
         not a natural person and a beneficial interest in Borrower is sold or transferred) without Lender's prior
         written consent, Lender may require immediate payment in full of all sums secured by this Security
         Instrument. However, this option shall not be exercised by Lender if such exercise is prohibited by
         Applicable Law.
               If Lender exercises this option, Lender shall give Borrower notice of acceleration, The notice shall
         provide a period of not less than 30 days from the date the notice is given in accordance with Section 15
         within which Borrower must pay all sums secured by this Security Instrument, If Borrower fails to pay these
         sums prior to the expiration of this period, Lender may invoke any remedies permitted by this Security
         Instrument without further notice or demand on Borrower,
               19, Borrower's Right to Reinstate After Acceleration, If Borrower meets certain conditions,
         Borrower shall have the right to have enforcement of this Security Instrument discontinued at any time prior
         to the earliest of; (a) five days before sale of the Property pursuant to any power of sale contained in this
         Security Instrument; (b) such other period as Applicable Law might specify for the termination of
         Borrower's right to reinstate; or (c) entry of a judgment enforcing this Security Instrument. Those conditions
         are that Borrower; (a) pays Lender all sums which then would be due under this Security Instrument and the
         Note as Ifni:. acceleration had occurred; (b) cures any default of any other covenants or agreements; (e) pays
         all expenses incurred in enforcing this Security Instrument, including, but not limited to, reasonable
         attorneys' fees, property inspection and valuation fees, and other fees incurred for the purpose of protecting

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         Lender's interest in the Property and rights under this .Security Instrument; and (d) takes such action as
         Lender may reasonably require to assure that Lender's interest in the Property and rights under this Security
         Instrument, and Borrower's obligation to pay the sums secured by this Security Instrument, shall continue
         unchanged. Lender may require that Borrower pay such reinstatement sums and expenses in one or more of
         the following forms, as selected by Lender (a) cash; (b) money order; (c) certified check, bank check,
         treasurer's check or cashier's check, provided any such check is drawn upon an institotiort whose deposits are
         insured by a federal agency, instrumentality or entity; or (d) Electronic Punds Transfer. Upon reinstatement
         by Borrower, this Security Instrument and obligations secured hereby shall remain fully effective as if no
         acceleration had occurred. However, this right to reinstate shall not apply in the case of acceleration under
         Section 18.
               20. Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note or a partial interest in the
         Note (together with this Security Instrument) can be sold one or more times without prior notice to
         Borrower. A sale might result in a change in the entity (known as the "Loan Servicer") that collects Periodic
         Payments doe under the Note and this Security Instrument and performs other mortgage loan servicing
         obligations under the Note, this Security Instrument, and Applicable Law. There also might be one or more
         changes of the Loan Servicer unrelated to a sale of the Note, If there is a change of the Loan Servicer,
         Borrower will be given written notice of the change which will state the name and address of the new Loan
         Servicer, the address to which payments should be made and any other information RESPA requires in
         connection with a notice of transfer of servicing. If the Note is sold and thereafter the Loan is serviced by a
         Loan Servicer other than the purchaser of the Note, the mortgage loan servicing obligations to Borrower will
         remain with the Loan Servicer or be transferred to a successor Loan Servicer and are not assumed by the
         Note purchaser unless otherwise provided by the Note purchaser.
               Neither Borrower nor Lender may commence, join, or be joined to any judicial action (as either an
         individual litigant or the member of a class) that ariaes from the other party's actions pursuant to this
         Security Instrument or that alleges that the other party has breached any provision of, or any duty owed by
         reason of, this Security Instrument, until such Borrower or Lender has notified the other party (with such
         notice given in compliance with the requirements of Section 15) of such alleged breach and afforded the
         other party hereto a reasonable period after the giving of such notice to take corrective action, If Applicable
         Law provides a time period which must elapse before certain action can be taken, that time period will be
         deemed to be reasonable for purposes of this paragraph. The notice of acceleration and opportunity to cure
         given to Borrower pursuant to Section 22 and the notice of acceleration given to Borrower pursuant CO
         Section 18 shall be deemed to satisfy the notice and opportunity to take corrective action provisions of this
         Section 20,
               21, Hazardous Substances. As used in this Section 21: (a) 'Hazardous Substances" are those
         substances defined as toxic or hazardous substances, pollutants, or wastes by Environmental Law and the
         following substances: gasoline, kerosene, other flammable or toxic petroleum products, toxic pesticides and
         herbicides, volatile solvents, materials containing asbestos or formaldehyde, and radioactive materials; (b)
         "Environmental Law" means federal laws and laws of the jurisdiction where the Property is located that
         relate to health, safety or environmental protection; (c) "Environmental Cleanup" includes any response
         action, remedial action, or removal action, as defined in Environmental Law; and (d) an "Environmental
         Condition" means a condition that can cause, contribute to, or otherwise trigger an Environmental Cleanup.




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               Borrower shall not cause or permit the presence, use, disposal, storage, or release of any Hazardous
         Substances, or threaten to release any Hazardous Substances, on or in the Property. Borrower shall not do,
         nor allow anyone else to do, anything affecting the Property (a) that is in violation of any Environmental
         Law, (b) which creates an Environmental Condition, or (e) which, due to the presence, use, or release of a
         Hazardous Substance, creates a condition that adversely affects the value of the Property. The preceding two
         sentences shall not apply to the presence, use, or storage on the Property of small quantities of Hazardous
         Substances that are generally recognized to be appropriate to normal residential uses and to maintenance of
         the Property (including, but not limited to, hazardous substances in consumer products).
               Borrower shall promptly give Lender written notice of (a) any investigation, claim, demand, lawsuit or
         other action by any governmental or regulatory agency or private party involving the Property and any
         Hazardous Substance or Environmental Law of which Borrower has actual knowledge, (b) any
         Environmental Condition, including but not limited to, any spilling, leaking, discharge, release or threat of
         release of any Hazardous Substance, and (c) any condition caused by the presence, use or release of a
         Hazardous Substance which adversely affects the value of the Property. If Borrower learns, or is notified by
         any governmental or regulatory authority, or any private party, that any removal or other remediation of any
         Hazardous Substance affecting the Property is necessary, Borrower shall promptly take all necessary
         remedial actions in accordance with Environmental Law. Nothing herein shall create any obligation on
         Lender for an Environmental Cleanup.
               NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:
               22. Acceleration; Remedies. Lender shall give notice to Borrower prior to acceleration following
         Borrower's breach of any covenant or agreement in this Security Instrument (but not prior to
         acceleration under Section 18 unless Applicable Law provides otherwise). The notice shall specify: (a)
         the default; (b) the action required to cure the default; (c) a date, not less than 30 days from the date
         the notice is given to Borrower, by which the default must be cured; and (d) that failure to cure the
         default on or before the date specified in the notice may result in acceleration of the sums secured by
         this Security Instrument, foreclosure by judicial proceeding and sale of the Property. The notice shall
         further inform Borrower of the right to reinstate after acceleration and the right to assert in the
         foreclosure proceeding the non-existence of a default or any other defense of Borrower to acceleration
         and foreclosure. If the default is not cured on or before the date specified in the notice, Lender at its
         option may require immediate payment in full of all sums secured by this Security Instrument without
         further demand and may foreclose this Security Instrument by judicial proceeding. Lender shall be
         entitled to collect all expenses incurred in pursuing the remedies provided in this Section 22, including,
         but not limited to, reasonable attorneys' fees and costs ()riffle evidence.
               23. Release. Upon payment of all sums secured by this Security Instrument, Lender shall release this
         Security Instrument. Borrower shall pay any recordation costs. Lender may charge Borrower a fee for
         releasing this Security Instrument, but only If the fee is paid to a third party for services rendered and the
         charging of the fee is permitted under Applicable Law.
               24, Attorneys' Fees. As used in this Security Instrument and the Note, attorneys' fees shall include
         those awarded by an, appellate court and any attorneys' fees incurred in a bankruptcy proceeding.
               25, Jury Trial Waiver, The Borrower hereby waives any right to a trial by jury in any action,
         proceeding, claim, or counterclaim, whether in contract or tort, at law or in equity, arising out of or in any
         way related to this Security Instrument or the Note.                                --

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               26, Simultaneously with the execution of this Mortgage, the Borrower has executed in favor of the
         Lender a construotion loan agreement relating to the improvements to be made by the Borrower on the
         above described Property. All of the terms, covenants and conditions of said construction loan agreement
         shall be and are herewith made a part of this Mortgage as though set forth at length herein, and a breach of
         any of the terms, covenants and conditions in said construction ban agreement constitute a breach of this
         Mortgage,
               27. Future Advances, Upon request of the Borrower, Lender, at Lender's option, up to 90 days from
         the issuance of a Certificate of Occupancy for the improvements on the subject Property, may make future
          dances to the Borrower. Such future advances, with interest thereon, shall be secured by this instrument
         when, evidenced by promissory notes or Future Advance Agreements stating that the notes or Future
         Advance Agreements are secured hereby. At no time shall the principal amount of the indebtedness secured
         by this instrument including sums advanced in accordance herewith, exceed $ 795,000.00




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                  BY SIGNING BELOW, orrower ateepts and agrees to the terms jnd Wenents contained in this
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            STATE OF noRiph.,                          ST LtYCZE                     County ss:
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